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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:04CR206
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )             TENTATIVE FINDINGS
                                             )
ADAM SOMMER,                                 )
                                             )
             Defendant.                      )


      The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s objections thereto (Filing No. 357). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

      The Defendant objects to the 2-level enhancement pursuant to U.S.S.G. §

2D1.1(b)(1) in ¶ 18 and the 4-level enhancement pursuant to U.S.S.G. § 3B1.1(a) in ¶ 20

because those enhancements are precluded by ¶ 1a of the plea agreement. Those

objections are granted.

      The Defendant also objects to issues relating to the Defendant’s criminal history,

specifically to ¶¶ 26, 35, 36, 37, 41 and 43. These objections are denied as moot in light

of the plea agreement pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) requiring

a sentence of 324 months concurrent to the Defendant’s state case.

      IT IS ORDERED:

      1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 357) are granted in part and denied in part as discussed above;
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       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 6th day of September, 2005.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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